     Case 6:18-cv-00256-KNM Document 70 Filed 12/06/19 Page 1 of 2 PageID #: 1207



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

CLINTON R. NORMAN,                             §
                                               §
                      Plaintiff,               §
v.                                             §
                                               § CIVIL NO. 6:18-cv-00256-RWS-KNM
CITY OF BIG SANDY,                             §
                                               §
                      Defendant.               §
                                               §
                                               §

                     NOTICE OF CHANGE OF ADDRESS OF COUNSEL

              PLEASE TAKE NOTICE that Plaintiff’s by and through their attorneys of LEE &

       BRAZIEL, LLP, have changed their address effective immediately to the following:

                                       LEE & BRAZIEL, LLP
                              1910 PACIFIC AVE., STE. 12000 – BOX 220
                                        DALLAS, TX 75201

              All non-electronic service of notices and documents should be mailed or delivered

       to the new office address listed above. All other contact information such as email

       addresses, phone numbers and fax number will remain the same.




       ________________________________________________________________________
       Notice of Change of Address of Counsel                            Page 1
Case 6:18-cv-00256-KNM Document 70 Filed 12/06/19 Page 2 of 2 PageID #: 1208



                                                 Respectfully Submitted,

                                                 /s/ Robert (Bobby) Lee
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                                                 ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

         The undersigned certifies that on this 6th day of December, 2019, a true and
  correct copy of the foregoing pleading was served upon all counsel via [ ] United States
  mail, certified, return receipt requested, [ ] United States regular mail, [ ] facsimile, [ ]
  electronic mail, [   ] notice of Electronic Filing.

                                                        /s/ Robert (Bobby) Lee
                                                        Robert (Bobby) Lee




  ________________________________________________________________________
  Notice of Change of Address of Counsel                            Page 2
